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                                          UNITED STATES COURT OF APPEALS
                                                     FOR THE
                                                  SECOND CIRCUIT


              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
              Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
              18th day of June, two thousand twenty-four,

              Before:         Denny Chin,
                              Sarah A. L. Merriam,
                              Maria Araiijo Kahn,
                                     Circuit Judges.


              E. Jean Carroll,                                           ORDER
                                                                         Docket No. 24-644
                             Plaintiff-ctr-defendant - Appellate,

                v.

              Donald Trump, in his personal capacity,

                             Defendant-ctr-claimant - Appellant,



              United States of America,

                             Movant.


                        Oral argument in this matter is scheduled for June 24, 2025. Appellant has moved to
              substitute the United States as a party pursuant to the Westfall Act, 28 U.S.C. §2679(d).
                      IT IS HEREBY ORDERED that the motion is DENIED. The Court will issue an opinion
              detailing its reasoning in due course.


                                                                    For The Court:
                                                                    Catherine O'Hagan Wolfe,
                                                                    Clerk of Court


                                                                                          wi
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